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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 U.S. NAVY SEALs 1–26, et al.,                    §
                                                  §
         Plaintiffs,                              §
                                                  §
 v.                                               §   Civil Action No. 4:21-cv-01236-O
                                                  §
 LLOYD J. AUSTIN, III, et al.,                    §
                                                  §
         Defendants.                              §

                                             ORDER

       Before the Court is the parties’ Joint Report (ECF No. 272), filed April 10, 2024. In the

report, the parties explain that they remain engaged in settlement discussions following the in-

person mediation that took place on April 3, 2024. To allow for continued settlement negotiations,

the parties propose staying this matter for an additional two weeks. Finding good cause, the Court

ORDERS that these proceedings remain stayed until April 24, 2024. By this date, the parties

SHALL either file the appropriate settlement papers or a joint status report. Should the parties fail

to resolve this matter, each side SHALL furnish to the opposing party amended Rule 26(a)(1)

Initial Disclosures and Rule 26(a)(2) Expert Disclosures by April 24, 2024. All other deadlines in

the proposed Scheduling Order (ECF No. 265) will be considered, if necessary, upon receipt of

the parties’ filing on April 24, 2024.

       SO ORDERED this 11th day of April, 2024.



                                                  _____________________________________
                                                  Reed O’Connor
                                                  UNITED STATES DISTRICT JUDGE
